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 MOW 3007-1.1      (12/2017)



                          IN THE UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF MISSOURI

 IN RE:                                                  )
          Aaron Arlise Roberts                           )      Case No. 17-43022-can13
          Shanna Ladawn Roberts                          )
                        Debtor(s)                        )


                                        OBJECTION TO CLAIM

         Come now Movants Aaron and Shanna Roberts and hereby object to the Proof of Claim
 filed by creditor, Capital One Auto Finance, a division of Capital One, N.A. in the amount of
 $14,552.65, and filed on December 1, 2017. The court claim number is 5.

      Your claim may be reduced, modified, or eliminated. You should read this
 document carefully and discuss it with your attorney, if you have one.

     Pursuant to Local Rule 3007-1 (C), the Claimant shall have 30 days after service of the
     Objection in which to file a Response, if you do not want the court to eliminate or change
     your claim. The Response shall be in writing and state why the claim should be allowed as
     filed. If a Response is filed, the Court will schedule a hearing. If no timely Response is filed,
     the Court will enter an Order sustaining the Objection to the Claim. Parties not represented
     by an attorney shall mail a Response to the Court at the address below. Debtor(s) not
     represented by an attorney must be served a copy of the Response by regular mail. If your
     Response is mailed, it must be early enough so that the court will receive it on or before 30
     days after service of the Objection.

 The basis for the objection is as follows: (PLEASE CHECK ONLY THE APPLICABLE
 BOXES)

 ☐        The deadline for filing proofs of claim expired prior to the filing of the claim, so the
          claim should be disallowed in its entirety. (Not applicable in Chapter 7)

 ☐        The claim should be disallowed entirely because               .

 ☒        The claim should instead be allowed as an unsecured claim in the amount of $14,552.65.
          The collateral which secured this loan, a 2011 Chevrolet Malibu, was repossessed by the
          creditor prior to the Movants’ bankruptcy filing.

 ☐        The claim should instead be allowed as secured in the amount of $.

 ☐        Other:
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 Dated: March 26, 2018                                        GHAFOOR COOK ELLIS LLC

                                                               /s/ Coleman R. Ellis
                                                              COLEMAN R. ELLIS         #62252
                                                              136 E. Walnut, Suite 300
                                                              Independence, MO 64055
                                                              Phone (816) 373-7379
                                                              Fax     (816) 222-0757
                                                              ATTORNEYS FOR DEBTOR(S)


                                   CERTIFICATE OF SERVICE

 I Coleman R. Ellis hereby certify that a true and correct copy of the Objection to Claim was sent
 electronically to those parties receiving electronic notice, and mailed to any party listed below by
 first class mail this 26th day of March, 2018.

 Represented parties received notice electronically via the court’s Electronic System.

 Capital One Auto Finance,
 a division of Capital One, N.A.
 P.O. Box 165028
 Irving, TX 75016

 Capital One Auto Finance
 c/o Secretary of State
 600 West Main
 Jefferson City, MO 65102

 Dated: March 26, 2018                                 /s/ Coleman R. Ellis
                                                      Coleman R. Ellis



 Court address: U.S. Bankruptcy Court, 400 E. 9th St., Room 1510, Kansas City, MO 64106

 Instructions: Complete all parts of the form and serve on the affected parties



 ECF Event: Bankruptcy>Claim Actions>Objection to Claim (includes 30-day notice)
